Case 5:17-cv-00179-JPB-JPM Document 176 Filed 09/04/20 Page 1 of 2 PageID #: 1934




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                      Wheeling



   DIANA MEY,
   CRAIG CUNNINGHAM,
   STEWART ABRAMSON,
   JAMES SHELTON,
   DAVID VANCE,
   RUSSELL LOCKE, and
   THOMAS STARK, individually
   and on behalf of a class of all
   persons and entities similarly situated,

                 Plaintiffs,
   V.                                                 CIVIL ACTION NO. 5:17-CV-179
                                                      Judge Bailey

   DIRECTV, LLC;
   ACI COMMUNICATIONS, a DirecW
   Authorized Dealer; CDS VI, LLC dlb!a
   COMPLETE DIGITAL SOLUTIONS, a
   DirecW Authorized Dealer; EXACT ESTIMATING,
   LLC, a DirecW Authorized Dealer; EXPLOSIVE
   SALES MARKETING GROUP, INC, a DirecW
   Authorized Dealer; IQ MARKETING 2, CORP., dibla
   PACIFICOM, a DirecW Authorized Dealer, and its principal,
   MICHAEL ASGHARI; KREATAMOTIVE LLC, a DirecW
   Authorized Dealer; MYLAN JOHNSON GROUP, a DirecW
   Authorized Dealer; NAS AIR LOGISTICS, LLC, a DirecW
   Authorized Dealer; PERFECTVISION MANUFACTURING, INC.,
   a DirecTV Authorized Dealer, and its telemarketers, FATI TECH
   LLC and SNY MARKETING; PlC SIX, LLC, a DirecW
   Authorized Dealer; PRO EDGE MARKETING SERVICE LLC,
   a DirecTV Authorized Dealer; SUPER SALE OUTLETS, LLC,
   a DirecTV Authorized Dealer; and XCITE SATELLITE, LLC,
   a DirecTV Authorized Dealer;

                 Defendants.
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                                              ORDER

          Presently before this Court is Plaintiffs’ Motion forStatus Conference [Doc. 175], filed

   on September 3, 2020. Therein, plaintiffs move this Court to set a status conference to

   address the pendency of the above-captioned matter in light of the Mandate [Doc. 173]

   recently entered by the United States Court of Appeals forthe Fourth Circuit. In consideration

   of the foregoing, Plaintiffs’ Motion for Status Conference [Doc. 1753 is GRANTED, and this

   Court hereby VACATES its prior Order Staying Case and Referring to Arbitration [Doc. 1741.

          Further, a status conference in this matter is hereby scheduled on September17,

   2020, at 11:00a.m., in the Wheeling District Judge Courtroom, North.

          It is so ORDERED.

          The Clerk is directed to transmit copies of this Order to all counsel of record herein.

          DATED: September 4, 2020.




                                                     UN’           DISTRICT




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